ILND 450 (Rev. Case:    1:08-cv-01939
               10/13) Judgment in a Civil Action Document   #: 107 Filed: 03/31/14 Page 1 of 1 PageID #:864

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    Shlomo Leibovitch, et al.                                   )
    Plaintiff(s)                                                )   Case No. 08 C 1939
                 v.                                             )
    The Syrian Arab Republic, et al.                            )
    Defendant(s)                                                )

                                 AMENDED JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):

         ☒        in favor of plaintiff(s) Shlomo Leibovitch, Galit Leibovitch, Moshe Leibovitch, Hila Leibovitch, Shmuel
Eliad, and Miriam Eliad.
                and against defendant(s) Islamic Republic of Iran and its Ministry of Information and Security
                in the amount of $14.5 million ,

                           which ☐ includes Enter amount pre–judgment interest.
                                    ☐ does not include pre–judgment interest.

    Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

    Plaintiff(s) shall recover costs from defendant(s).


         ☐        in favor of defendant(s) Click here to enter text.
                  and against plaintiff(s)Click here to enter text.
.
    Defendant(s) shall recover costs from plaintiff(s).


         ☐        other:

This action was (check one):

☐ tried by a jury with Judge Select Judge presiding, and the jury has rendered a verdict.
☐ tried by Judge Select Judge without a jury and the above decision was reached.
☒ decided by Judge           on a motion for judgment.




Date:    3/31/2014                                                     Thomas G. Bruton, Clerk of Court

                                                                /s/ Ruth O’Shea, Deputy Clerk
